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UNITED STATES DISTRICT COURT
W ESTERN DISTRICT OF NEW YORK



UNITED STATES OF AMERICA,


                                                                    ORDER
             v.                                                   95-CR-010A

ERIC HENNINGS,

                                  Defendant.




                                   INTRODUCTION

             Currently before the Court is a pro se motion by the defendant, Eric

Hennings, for amendment of his presentence investigation report (“PSR”). For

the reasons stated, the motion is denied.




                                   BACKGROUND

             The defendant was indicted in October 1995 on charges of

narcotics trafficking, using a communication facility to facilitate narcotics

trafficking activity, and engaging in a continuing criminal enterprise.

             On March 19, 1997, the defendant pleaded guilty to engaging in a

continuing criminal enterprise. The United States Probation Office prepared the

PSR. On September 21, 1998, the defendant’s counsel filed a statement with

respect to sentencing factors wherein he stated that he had “no objection to the

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factual findings and calculations” set forth in the PSR.

             On October 14, 1998, this Court sentenced the defendant to a term

of imprisonment of 204 months, to be followed by a term of 5 years of

supervised release. The defendant did not file an appeal.

             On May 11, 2004, the defendant filed a motion to amend the PSR.

In his motion, the defendant seeks to amend ¶ 62 of the PSR to reflect that the

he did use drugs within one year before his incarceration. Defendant states that

modification is necessary in order to permit him to participate in Bureau of

Prisons’ drug treatment program. The defendant also seeks amendment of the

judgment to recommend participation in the drug treatment program.

             On May 18, 2005, the government filed a response to the instant

motion. Oral argument was deemed unnecessary.




                                    DISCUSSION

             This Court lacks jurisdiction to grant the defendant’s motion to

amend his PSR. In United States v. Giaimo, 880 F.2d 1561 (2d Cir. 1989), the

Second Circuit held that Rule 32 of the Federal Rules of Criminal Procedure

“does not give a district court jurisdiction to correct inaccuracies in a [PSR] after

a defendant has been sentenced.” Id. at 1563; see also United States v.

Angiulo, 57 F.3d 38, 41 (1 st Cir. 1995) (holding that Rule 32 does not grant

jurisdiction to the district court to conduct a postsentence review of the PSR).

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             Nor does this Court have jurisdiction to amend the judgment to

recommend placement in the drug treatment program. Rule 36 authorizes this

Court to correct a “clerical error” in a judgment, order or other part of the record.

However, the omission of a recommendation for treatment in the drug treatment

program was not the result of a “clerical error” in the judgment. Instead, the

Court did not recommend placement because the Court did not believe that

circumstances warranted such a recommendation. Accordingly, Rule 36

provides no relief to the defendant.




                                    CONCLUSION

             The defendant’s motion for amendment of his PSR and/or the

judgment is denied.

             IT IS SO ORDERED.




                                               /s/ Richard J. Arcara
                                               ___________________________
                                               Hon. Richard J. Arcara
                                               Chief Judge
                                               United States District Court

Dated: May 24         , 2005




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